Case 3:20-cv-00456-E Document 1-2 Filed 02/24/20   Page 1 of 3 PageID 35




                    EXHIBIT B
   Case 3:20-cv-00456-E Document 1-2 Filed 02/24/20         Page 2 of 3 PageID 36

          DESOTO POLICE DEPARTMENT
                    “To Become the Standard for Law Enforcement Excellence”




January 16, 2015

Honorable Mayor: Carl O. Sherman Jr.
Honorable City Council Members: Rachel Proctor, James Zander, Mayor Pro Tem
Curtistene McCowan, Dick North, Virgil Helm and Kristine Clark.

Re: 2014 Racial Profile Report

Dear Honorable Mayor and City Council Members:

The 2014 racial profiling report has been completed in accordance with the
requirements set forth by HB3389 of the 81st Legislature State of Texas. Desoto
PD is responsible for Tier 1 reporting. Tier 1 reporting is a partial exemption from
Racial Profile Reporting because of video and audio equipment (in-car camera)
records of motor vehicle stops. All DeSoto Police Department motor vehicle stops
are video and audio recorded. These records are maintained for a period of 90
days. Police supervisors periodically review recorded motor vehicle stops to ensure
that biased based profiling is not occurring. Tier 1 reporting requires DeSoto Police
to track all motor vehicle stops that result in the issuance of a citation or an arrest.

Utilizing the 2012 Census, the City of DeSoto population shows to be 67.9%
African American, 19.4%White, 9.8% Hispanic, 1.5% two or more races, 0.2%
other; and, 0.5% American Indian, 0.9% Asian, and 0.1% Pacific Islander.

The 2012-2013 DeSoto ISD Demographic report shows the school population to be
77.7% African American, 17% Hispanic, 3.4%White, and 2.1% all other. The
actual demographics of the City of DeSoto probably lies somewhere in between
the U.S. Census report and the DeSoto ISD report.

Motor vehicle stops are made on the drivers that live, work and travel through
DeSoto on a daily basis. It is reasonable to believe that African American motorists
will be stopped in DeSoto more than any other race based on the above mentioned
demographics. The 2014 racial profiling report very closely resembles the
characteristics of the U. S. Census report.


  714 E. BELTLINE DESOTO, TEXAS 75115 (469) 658-3000
   Case 3:20-cv-00456-E Document 1-2 Filed 02/24/20               Page 3 of 3 PageID 37

                                             Page 2

The actual 2014 Racial Profiling Tier 1 State Report, filed by the DeSoto Police Department, is
attached to this report. This report reflects the following information and percentages:
                     A total of 4701 motor vehicle stops were made in 2014
       74.9 % of all those motor vehicle stops were African American;
       16.4 % were Caucasian;
       7.9 % were Hispanic;
       Asian, Middle Eastern and Native American made up the remaining 1% of all stops;
       79 % of all motor vehicle stops reflects citation(s) only issued;
       14 % of all motor vehicle stops were arrest only;
       6.7 % of all motor vehicle stops were arrests and a citation(s) issued;
       95.6% of the time race or ethnicity was not known prior to the motor vehicle stop;
       4.4% of the time race or ethnicity was known prior to the motor vehicle stop;
       30% of the total motor vehicle stops resulted in a search;
       97.8% of the searches were not consensual. (Non-Consensual searches are generally
       searches subsequent to arrest or for vehicle impounds, warrants, plain view or PC/ MV
       Exception.)

In July 2013 the DeSoto Police Department contracted with the Del Carmen Consulting Agency
to conduct an audit and review of our Biased Based Profiling policies, procedures and reports.
As a result of this review, and following the recommendations of Dr. Del Carmen, the following
exists:

       DeSoto Police Department Standard Operating Procedure, SOP 201.017, outlines the
       Department’s policy concerning biased based profiling and shows that the DeSoto Police
       Department is fully in compliance with Article 2.132 of the Texas Code of Criminal
       Procedure.
       DeSoto Police Department is in full compliance with Texas Law on training and
       education regarding racial profiling.
       DeSoto Police Department is fully in compliance with applicable Texas Law on the racial
       profiling complaint process and public education about the process.
       DeSoto Police Department through OSSI data base is in full compliance with applicable
       Texas Law on the collection of racial profiling data, and
       DeSoto Police Department, through training and Standard Operating Procedures is fully
       in compliance with applicable Texas Law concerning the “Prohibition of Racial
       Profiling”.

There was one racial profiling complaint made during the 2014 reporting period. After review of
that complaint it was unfounded, with no further action.



Respectfully Submitted,


Joseph W. Costa
Chief of Police

  714 E. BELTLINE DESOTO, TEXAS 75115 (469) 658-3000
